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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Jude A. O.,                                           File No. 21-cv-01731 (ECT/JFD)

              Petitioner,

v.                                                   ORDER ACCEPTING REPORT
                                                      AND RECOMMENDATION
Merrick B. Garland, Acting Attorney
General, Department of Justice, Alejandro
Mayorkas, Secretary, Department of
Homeland Security, Tae D. Johnson, Acting
Director. Immigration and Customs
Enforcement, Marcos Charles, Director, St.
Paul Field Office; Immigration and Customs
Enforcement, and Joel Brott,

           Respondents.
________________________________________________________________________

       Petitioner Jude A. O. commenced this action by filing a petition for a writ of habeas

corpus under 28 U.S.C. § 2241. ECF No. 1. Jude’s petition challenges his confinement

with U.S. Immigration and Customs Enforcement on due-process grounds. Id. ¶¶ 7, 50–

72, 79–98.1 The Court has received the October 19, 2021 Report and Recommendation of

United States Magistrate Judge John F. Docherty. ECF No. 17. As described in the Report

and Recommendation, when Jude filed his petition, he was in pre-removal detention

pursuant to 8 U.S.C. § 1226(c), and the Government’s September 17, 2021 response argued

that the petition should be denied as moot because, after it was filed, Jude was moved to a

post-final-removal-order detention under 8 U.S.C. § 1231. Id. at 2. However, since the


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      The petition also raised a First Amendment right-to-marry claim, which was
dismissed on October 1, 2021. ECF No. 16.
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Government filed its response, Jude has been removed from the United States, and

Magistrate Judge Docherty accordingly found that the petition is moot, and the Court lacks

subject-matter jurisdiction. Id.

       No party has objected to the Report and Recommendation, and Magistrate Judge

Docherty correctly concluded that there is no longer subject-matter jurisdiction here.

Therefore, based upon all of the files, records, and proceedings in the above-captioned

matter, IT IS ORDERED THAT:

       1.       The Report and Recommendation [ECF No. 17] is ACCEPTED;

       2.       The Petition for a Writ of Habeas Corpus [ECF No. 1] is DENIED as moot

                as to Petitioner’s remaining Fifth Amendment claims; and

       3.       This action is DISMISSED WITHOUT PREJUDICE for lack of subject

                matter jurisdiction.

                  LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: November 23, 2021                  s/ Eric C. Tostrud
                                          Eric C. Tostrud
                                          United States District Court
